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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS

                                         )
                                         )
RODERICK CARR,                           ) Case No.:
                                         )
             Plaintiff.                  ) 3:21-cv-00061-C
                                         )
      v.                                 )
                                         )
XCEED FINANCIAL CREDIT                   )
UNION,                                   )
                                         )
                Defendant.               )

                          NOTICE OF SETTLEMENT

      TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



Dated: July 12, 2021                   By: /s/ Amy L. B. Ginsburg
                                         Amy L. B. Ginsburg, Esquire
                                         Kimmel & Silverman, P.C.
                                         30 E. Butler Pike
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                        CERTIFICATE OF SERVICE

            I, Amy L. B. Ginsburg, Esquire, do certify that I served a true and

correct copy of the Notice of Settlement in the above-captioned matter, upon the

following via CM/ECF system:

Stuart M Richter
Katten Muchin Rosenman LLP
2029 Century Park East
Suite 2600
Los Angeles, CA 90067-3012
310-788-4582
Fax: 310-788-4471
Email: stuart.richter@katten.com



Dated: July 12, 2021                 By: /s/ Amy L. B. Ginsburg
                                       Amy L. B. Ginsburg, Esquire
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